               Case 3:19-mj-05009-JRC                   Document 18             Filed 01/31/19            Page 1 of 1


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